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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                  :         Case No.: 2:20-CR-00269-BRM
                                          :
                VS.                       :
                                          :           ORDER FOR INTERIM PAYMENT FOR
                                          :           REPRESENTATION OF COUNSEL
TALIB BEEKS                               :           PURSUANT TO THE CRIMINAL
                                          :           JUSTICE ACT 18:3006(A)


    Because of the complexity of the case, the expected length of pretrial preparation, the length

 of the trial, and the anticipated hardship of counsel in undertaking representation full-time for

 such a period without compensation, in accordance with section 230.73.10 of the Guidelines for

 the Administration of the Criminal Justice Act, the following procedures for interim payments

 shall apply during the course of your representation in this case:

                                1. SUBMISSION OF VOUCHERS

    Counsel shall submit to the Court Clerk, on a quarterly basis (every 3 months), an interim

 CJA 20 through eVoucher. Compensation earned and reimbursable expenses incurred shall be

 claimed on each interim voucher.         The first interim voucher submitted shall reflect all

 compensation claimed and reimbursable expenses incurred from the date of appointment through

 June 26, 2020 and shall be submitted no later than July 26, 2020; thereafter, the vouchers

 shall be submitted quarterly according to the schedule outlined above. Each voucher shall be

 numbered accordingly and include the time period it covers. All interim vouchers shall be

 supported by detailed and itemized time and expense entries. Chapter 2, Part C of the

 Guidelines for the Administration of the Criminal Justice Act outlines the



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procedures and rules for claims by CJA attorneys and should be followed regarding each

voucher.

   The Court will review the interim vouchers when submitted, particularly with regard to the

amount of time claimed. The Court will also authorize payment for all reimbursable expenses

reasonably incurred.

   At the conclusion of representation, counsel should submit the final interim voucher, which

shall include a detailed memorandum supporting and justifying counsel’s claim that the

representation was extended and complex, and that excess compensation is necessary to provide

fair compensation. The CJA 26 form may be used for this purpose.        After reviewing the final

interim voucher, the Court will submit it to the Chief Judge of the Circuit or his or her designee

for review and approval.

                               2. REIMBURSABLE EXPENSES

   Counsel may be reimbursed for out-of-pocket expenses reasonably incurred incidental to the

representation. While the statute and applicable rules and regulations do not place a monetary

limit on the amount of expenses that can be incurred, counsel is required to provide a copy of a

receipt for any individual expense item in excess of $50.    Travel expenses, such as mileage,

parking fees and tolls shall be itemized on each voucher, with receipts provided. Extraordinary

travel that may require air travel, overnight lodging, meals and incidental expenses are required

to be authorized in advance in the e-Voucher system.




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                         3. FURTHER QUESTIONS OR GUIDANCE

   Answers to questions concerning services under the Criminal Justice Act, can generally be

found in (1) 18 U.S.C. 3006(A); (2) the Plan of the United States District Court for the District of

New Jersey; (3) Appendix I to the Criminal Justice Act Plan; and (4) Guidelines for the

Administration of the Criminal Justice Act, published by the Administrative Office of the U.S.

Courts. Should these references fail to provide the desired clarification or direction, counsel is

directed to contact the CJA Administrator via email at evoucher@njd.uscourts.gov or 973-645-4582.




           June 29, 2020
DATE:
                                                   Brian R. Martinotti, U.S.D.J.




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